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                          WISCONSIN LEGISLATURE
                                    P. 0. Box 7882 Madison, WI 53707-7882




August 8, 2024

Secretary-Designee Jared Hoy
Depaiiment of Corrections
3099 E. Washington Avenue
Madison, WI 53704

Dear Secretary-Designee Hoy,

As you are aware, we have been concerned with the safety and security of both staff and inmates
at the Lincoln Hills and Copper Lake Schools (Lincoln Hills) for a number of years. At the
committee meeting in Merrill this week, we heard first hand of extremely dangerous working
and living conditions, and a number of violent incidents that have gone unreported to law
enforcement and the general public. We have expressed our concerns with safety and Lincoln
Hills to the depaiiment both publicly and privately.

Tragically, these concerns came to a predictable and devastating head in June with the murder of
Counselor Corey Proulx at Lincoln Hills.

We know the Depaiiment of Corrections (DOC) and the staff at Lincoln Hills have been
operating under a consent decree and permanent injunction since 2018. That consent decree has
greatly limited the tools available to Lincoln Hills staff to ensure their safety, and the safety of
the inmates at the facility. Specifically, the consent decree:

               •   Prohibits punitive confinement.
               •   Restricts Administrative Confinement to youth who pose a "serious risk of
                   imminent physical harm to others" and limits confinement to 12 hours.
               •   Prohibits "the use of OC Spray and other chemical agents."
               •   Restricts the use of "mechanical restraints" to handcuffs, except to prevent
                   "imminent physical harm to self or others."
               •   Requires additional "out time" to inmates in Administrative Confinement.

Each of these items were highlighted as contributing to an unsafe environment at Lincoln Hills at
our committee hearing. The fact is, since the consent decree went into effect, Lincoln Hills has
become less, not more, safe.

Additionally, the consent decree is directly resulting in more kids being charged with more
crimes while in custody and staying in custody longer. This is because the real-world
implementation of the consent decree has created an environment where kids have less structure
and discipline, giving them more oppo1iunities to act out.
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The most recent monitoring report into Lincoln Hills showed the DOC in "substantial
compliance" with almost all of the requirements of the consent decree. The areas which it was in
pa1iial compliance cited a lack of proper paperwork, the non-elimination of tools that have not
been prohibited, but restricted, and the use of confinement during delays in inmate transfers.

As we heard this week, the consent decree has led to a one-size-fits-all approach. We were told
that the Depaiiment and staff is instructed to simply "check the box" on the consent decree items
rather than maintain a safe and healthy environment at Lincoln Hills. The testimony this week
showed that since the consent decree went into effect, DOC has had less control at Lincoln Hills,
and both imnates and staff feel less safe.

Lincoln Hills staff need to get the bullseye off their back, so that they may safely and efficiently
ensure the security and welfare of themselves and the residents of Lincoln Hills.

We are all aware of the conditions at Lincoln Hills that necessitated the consent decree six years
ago. Those conditions were unacceptable, and no one wants to return to those conditions.
However, staff assaults have been steadily increasing over the last couple of years culminating in
the murder of Corey Proulx, despite a dwindling population.

Simply put, it appears that we may have reached the point where attempting to be fully
compliant with the consent decree is causing more harm than good.

Therefore, we ask that you petition United States District Comi Judge James Peterson, to revisit
and revise the consent decree and permanent injunction requirements to enhance safety of staff
and inmates at Lincoln Hills and all future Type I facilities.

Sincerely,




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Chairman Van Wanggaard                                Chairman Michael Schraa
Senate Committee on Judiciary & Public Safety         Assembly Committee on Corrections


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Senator Mary Felzkowski                               Representative Calvin Callahan
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Senator Andre Jacque                      Representative Ty Bodden
Vice Chairman                             Vice Chairman




Senator Eric Wimberger                    Representative Janel Brandtjen




Senator Jesse James                      Representative Rob Brooks




Representative Karen Hurd                Representative Dave Maxey




Representative Jerry O'Connor            Representative Angie Sapik




Representative Paul Tittl
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Cc:    US District Court Judge James Peteroen
       Governor Tony Evers
       ACLU of Wisconsin
       Juvenile Law Center
